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                    United States Court of Appeals
          Case: 19-2243    Document: 7         Filed: 09/10/2019    Pages: 1

                                                 For the Seventh Circuit
                                                 Chicago, Illinois 60604

                                                    September 10, 2019

By the Court:

UNITED STATES OF AMERICA,                                                  ]   Appeal from the United
        Plaintiff-Appellee,                                                ]   States District Court for
                                                                           ]   the Northern District of
No. 19-2243                                             v.                 ]   Illinois, Eastern Division.
                                                                           ]
CARLOS R. MEZA,                                                            ]   No. 1:17-cr-00281-1
        Defendant-Appellant.                                               ]
                                                                           ]   Elaine E. Bucklo,
                                                                           ]        Judge.

      This matter comes before the court for its consideration of attorney Joshua B.
Kutnick’s MOTION TO WITHDRAW AS COUNSEL, filed on July 2, 2019. Upon
consideration thereof,

         IT IS ORDERED that the Motion to Withdraw is GRANTED.

       IT IS FURTHER ORDERED that attorney Joshua T. Buchman, MCDERMOTT,
WILL & EMERY LLP, 444 W. Lake Street, Chicago, IL 60606, jbuchman@mwe.com, is
appointed to represent defendant-appellant Carlos Meza pursuant to the provisions of
the Criminal Justice Act. Counsel is directed to contact the defendant-appellant
immediately.

         Briefing shall proceed as follows:

         1.        Defendant-appellant shall file his brief and required short appendix
                   on or before December 9, 2019.

         2.        Plaintiff-appellee shall file its brief on or before January 8, 2020.

         3.        Defendant-appellant shall file his reply brief, if any, on or before
                   January 29, 2020.

     IT IS FINALLY ORDERED that the District Court add attorney Joshua T.
Buchman to their CM/ECF database for purposes of accessing District Court documents.

Important Scheduling Notice !

         Notices of hearing for particular appeals are mailed shortly before the date of oral argument. Criminal appeals are
         scheduled shortly after the filing of the appellant's main brief; civil appeals after the filing of the appellee's brief. If you
         foresee that you will be unavailable during a period in which your particular appeal might be scheduled, please write
         the clerk advising him of the time period and the reason for such unavailability. Session data is located at
         http://www.ca7.uscourts.gov/cal/calendar.pdf. Once an appeal is formally scheduled for a certain date, it is very difficult
         to have the setting changed. See Circuit Rule 34(e).
